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 5
     Attorney for Defendant, FRANCES REYNA GALVAN
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 8
                           IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                   )   CASE NO. 1:16-cr-00122 DAD BAM (004)
12                                               )
                   Plaintiff,                    )   STIPULATION TO MODIFY CONDITIONS OF
13                                               )    RELEASE AND ORDER THEREON
                                                 )
14   vs.                                         )
                                                 )
15                                               )
                                                 )
16   FRANCES REYNA GALVAN                       )
                                                 )
17                 Defendant.                    )
                                                 )
18   ___________________________________________)
19   STIPULATION
20             It is hereby stipulated by and between the parties hereto that additional
21   conditions of release item (7) (f) of the Order of Release dated October 27, 2016, Doc.
22   102, be modified to allow association and contact between Defendant Frances Galvan
23   and her son, Defendant Gabriel Galvan, on the condition that the facts of the present
24   case are not discussed, with all other conditions not in conflict to remain in full force and
25   effect.
26             The parties stipulate and agree that the Addition of Conditions of Release item (7)
27   (f) of the October 26, 2016 Order be modified to read as follows:
28
                                                     1
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 1          (f) Not associate or have any contact with any co-defendant unless in the
     presence of counsel or otherwise approved in advance by the PSO, with the exception
 2   that Defendant Frances Galvan may associate and have contact with her son, Defendant
     Gabriel Galvan, on the condition that the facts of this case are not discussed.
 3
     ALL PREVIOUSLY ORDERED CONDITIONS OF RELEASE NOT IN CONFLICT TO REMAIN IN
 4   FULL FORCE AND EFFECT.
 5
            Good cause exists for this modification because the defendant has been on
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     conditions of release since October 2016, during which time her supervising pretrial
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     service officer has described her performance as good; all parties believe the
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     modification sufficiently protects the interest of all parties and her pretrial supervisor is
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     not opposed to this modification.
10
     IT IS SO STIPULATED.
11

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13   Dated: December 15, 2016                           Respectfully submitted,
                                                        FLETCHER & FOGDERUDE, INC.
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                                                         /s/ Eric K. Fogderude
16                                                      ERIC K. FOGDERUDE
                                                        Attorney for Defendant,
17                                                      FRANCES REYNA GALVAN
18

19   Dated: December 15, 2016                           UNITED STATES ATTORNEY
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                                                        /s/ Melanie L. Alsworth
21                                                      MELANIE L. ALSWORTH
                                                        Assistant United States Attorney
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     Case 1:16-cr-00122-DAD-BAM Document 113 Filed 12/21/16 Page 3 of 3


 1                                             ORDER
 2          IT IS SO ORDERED that the release Order dated October 27, 2016 be modified as
 3   to Additional Conditions of Release item (7)(f) to read as follows:
 4
            (f) Not associate or have any contact with any co-defendant unless in the
 5   presence of counsel or otherwise approved in advance by the PSO, with the exception
     that Defendant Frances Galvan may associate and have contact with her son, Defendant
 6   Gabriel Galvan, on the condition that the facts of this case are not discussed.
 7   ALL PREVIOUSLY ORDERED CONDITIONS OF RELEASE NOT IN CONFLICT TO REMAIN IN
     FULL FORCE AND EFFECT.
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10   IT IS SO ORDERED.
11   Dated: December 21, 2016                          /s/ Barbara A. McAuliffe
                                               UNITED STATES MAGISTRATE JUDGE
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